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  1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                              EASTERN DIVISION
  3    CATHERINE GRAVITT and TRAVIS            )
       GRAVITT,                                )
  4                                            )
                            Plaintiffs,        )
  5                                            )
       -vs-                                    )   Case No. 17 C 5428
  6                                            )
       MENTOR WORLDWIDE, LLC, a                )
  7    foreign corporation,                    )   Chicago, Illinois
                                               )   August 23, 2018
  8                         Defendant.         )   9:00 a.m.
  9                         TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE GARY FEINERMAN
10
      APPEARANCES:
11
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  1      (Proceedings heard in open court:)
  2               THE CLERK: 17 C 5428, Gravitt versus Mentor
  3   Worldwide.
  4               MS. WEISS: Good morning, your Honor. Brittany Weiss
  5   on behalf of defendant Mentor. One of our other attorneys
  6   should be here shortly. I would ask that we could pass until
  7   he --
  8               THE COURT: Do you mind?
  9               MS. LENZE: No, not at all.
10       (Recess had.)
11                THE CLERK: 17 C 5428, Gravitt versus Mentor
12    Worldwide.
13                MS. LENZE: Good morning, your Honor. Jennifer Lenze
14    on behalf of the plaintiffs.
15                THE COURT: So, who else do we have?
16                MR. DOGALI: Also Andy Dogali from Tampa, Florida,
17    for the plaintiffs.
18                MR. RAWLIN: And Dustin Rawlin for defendant Mentor
19    Worldwide, LLC.
20                MS. WEISS: Brittany Weiss for defendant Mentor
21    Worldwide.
22                THE COURT: Good morning. So, we're here for a
23    status hearing. I think I entered an order saying that the
24    defendant had to comply with the document production order by
25    August 8th. Did that all go according to plan?
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  1               MR. RAWLIN: It did, your Honor. We did not find any
  2   documents, except one, that was attorney-client privileged.
  3   We produced a privileged log to the plaintiff. We did some
  4   extensive searching of the company that entailed quite a bit
  5   of locations, employees, contacted ex-employees, contacted
  6   ex-law firms to try and locate documents related to that
  7   issue, in part because we felt that those documents would
  8   exonerate Mentor.
  9               THE COURT: Even if they didn't, you'd still have to
10    find them.
11                MR. RAWLIN: Absolutely. And we asked for --
12    actually, if you remember, your Honor, we asked for an
13    extension of time to continue to look for them. We found
14    exactly one, which is clearly privileged, and we've given the
15    plaintiffs a privileged log.
16                We have identified the ex-employee that we believe
17    wrote the letter to the FDA back in 2006; but other than that,
18    we have not found anything else that's responsive.
19                THE COURT: Okay. So, you found one document that
20    was privileged, and you served a privileged log?
21                MR. RAWLIN: Correct.
22                MR. DOGALI: Your Honor, that production requires
23    further analysis. Mentor produced quite a lot of
24    documentation, much of it more public information than
25    expected, but -- and the form of that production requires
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  1   analysis as well.
  2               But they produced a lot of -- thousands of pages of
  3   records that go back decades; and for some reason, these
  4   particular files from 2005 and '6 and perhaps thereafter
  5   cannot be found. It's impossible that Mentor did not believe
  6   or understand that whistleblowers might be material witnesses
  7   some day. So, for the personnel files, for example, of these
  8   people to have disappeared while all kinds of other documents
  9   were not destroyed in the ordinary course that relate to these
10    issues is going to require some investigation.
11                I'm very surprised to find that there is only one
12    document located and zero produced.
13                MR. RAWLIN: Your Honor --
14                MR. DOGALI: With respect to the broader production,
15    that's an issue as well, your Honor. I don't want to ambush
16    opposing counsel, because we haven't really addressed it very
17    much; but we got 28,000 pages of documents produced as simple
18    .pdf images, which is very unusual. Ordinarily, including in
19    this district, it would be TIFF files or native format at
20    least, but Mentor had to go out of its way to strip all the
21    metadata out before giving it to us.
22                THE COURT: Okay. Is this something that's been
23    presented in a motion yet?
24                MR. DOGALI: No, sir.
25                THE COURT: Okay. Then let's keep one ball in the
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  1   air at a time.
  2               MR. DOGALI: It may only go to the issue of
  3   scheduling, your Honor, when you asked how discovery is
  4   going.
  5               THE COURT: So, you say it would warrant further
  6   investigation. What do you have in mind?
  7               MR. DOGALI: I need to perform -- first of all, the
  8   broader production without metadata prevents any search of
  9   anything by us to determine --
10                THE COURT: Again, is this something that -- is that
11    something that we're talking about now, or is that something
12    else?
13                MR. DOGALI: This relates to the non-existent
14    records. If something should be found and produced in a
15    simple .pdf form, we'll have the same problem. We won't be
16    able to figure out what they actually did.
17                THE COURT: I'm not following you. You're talking
18    about documents that have not yet been produced.
19                MR. DOGALI: Correct.
20                THE COURT: Okay. One ball in the air at a time.
21    They produced -- I issued -- I granted your motion to compel.
22    I said, "Produce documents. Find and produce." They found
23    one document. It's privileged. They sent you a privileged
24    log.
25                MR. DOGALI: Correct.
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  1               THE COURT: Do you -- do you have an issue with that
  2   or not? In other words, do you think that there are more
  3   documents that haven't been found?
  4               MR. DOGALI: Yes.
  5               THE COURT: Okay. And how are you going to go about
  6   either assuring yourself that there are not documents that
  7   haven't been found or trying to uncover those documents?
  8   What's your proposal?
  9               MR. DOGALI: We have advised defense counsel we'd
10    like to take a deposition of a custodian, which would be
11    fairly common, about how this search was performed.
12                THE COURT: Okay. That was going to be my
13    suggestion, but -- so, and then what else would you want
14    to do?
15                MR. DOGALI: That custodian possibly will be the
16    same one that would relate to the broader production of
17    documents as well.
18                THE COURT: All right. So, your next move is to
19    depose a custodian regarding the search that was conducted in
20    order to find documents to comply with my order granting in
21    part your motion to compel?
22                MR. DOGALI: Correct. And I believe that witness
23    would be the same one that relates to the previous
24    productions.
25                THE COURT: Okay.
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  1               MR. RAWLIN: So, your Honor, what's happening is
  2   the plaintiff doesn't have a case. They don't like the
  3   information they've been given because it disproves their
  4   case, and so now they want to make the case about discovery.
  5   It's common when a plaintiff doesn't have a case and doesn't
  6   have any merit to their claims.
  7               We can show what we did to search for these
  8   documents. Now, these documents are from an incident that
  9   occurred in 2006, so 12 years ago.
10                THE COURT: And you want me to adjudicate that right
11    now, whether your search was compliant with your obligations
12    under Rule 34?
13                MR. RAWLIN: There's no custodian who's going to be
14    able to say, "Here's what we did." I mean, I can tell the
15    Court what we did. I talked with over 20 employees of the
16    company in the various relevant areas and instructed them to
17    look for documents. They searched a bunch of current
18    libraries, current places where documents would be, legacy
19    obsolete databases from when Mentor was a stand-alone company.
20    We pulled --
21                THE COURT: If you don't want me to adjudicate the
22    sufficiency of your search, why are you telling me this right
23    now?
24                MR. RAWLIN: Okay. And maybe that's for further
25    motion.
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  1               I did prepare a timeline of what happened in 2006
  2   that I think would maybe shed light on why there's not more
  3   documents, because believe me, I wanted the documents. When
  4   the FDA says, "We conducted a thorough investigation and have
  5   cleared Mentor of wrongdoing," I want those documents, right?
  6   Those documents are going to help me.
  7               And so if you look at what happened in 2006, the
  8   employee involved, who we're not disclosing publicly the name
  9   because there was an adverse employment action, was notified
10    they were going to be terminated April 24th. They were
11    terminated on May 31st. They sent a letter to the FDA only on
12    June 22nd.
13                THE COURT: That's the employee.
14                MR. RAWLIN: The employee sent the letter to the FDA.
15    Mentor didn't know that. So, we have this period of time in
16    months when Mentor has already submitted a bunch -- I mean,
17    millions of pages of things related to its premarket approval
18    for its memory gel implants to the FDA; and the FDA is
19    reviewing that, and its scientists are reviewing that and
20    asking questions. So, we have this period of months where the
21    FDA is examining that and asking Mentor questions.
22                Public Citizen publishes the letter on October 12th,
23    2006, the first time Mentor knows of it. The next day, the
24    FDA spokesperson is quoted in the Chicago Sun Tribune, I
25    believe, saying --
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  1               THE COURT: Sun-Times or Tribune, not both.
  2               MR. RAWLIN: One of them, saying --
  3               THE COURT: You're from Florida, so that's fine.
  4               MR. RAWLIN: -- "We have conducted a thorough
  5   investigation. We have found no evidence of wrongdoing. We
  6   have found nothing to indicate that the safety of the
  7   product" --
  8               THE COURT: You're not from Florida. He's from
  9   Florida.
10                MR. RAWLIN: I'm from Cleveland.
11                THE COURT: You're from Cleveland?
12                MR. RAWLIN: Yes, your Honor. The next day -- well,
13    how is that possible? How is that possible the FDA has the
14    letter on June 22nd?
15                Mentor learns of the letter on October 12th, and a
16    bunch of people from Mentor get together and write a memo, the
17    privileged memo to their lawyer four days later on
18    October 16th debunking all of those claims.
19                Well, on the 13th, the FDA is already clearing them.
20    How is that possible? It's because the FDA, in its own mind,
21    has asked the questions it needs to ask in this period of
22    time; and when Mentor goes to them and tells them, "Hey, we're
23    prepared to tell you what we have found," they go, "Don't
24    worry about it. We've already done that."
25                I have the letter -- I have the memo. I'm willing to
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  1    let the Court look at it in camera if you wish.
  2               THE COURT: There's been no challenge as to the
  3    assertion of privilege, so there's no reason for me to look at
  4    the memo right now. All there is is a challenge to -- all I
  5    hear is the plaintiff saying is, "One document? That's all
  6    you can find? There's got to be something else."
  7               And then plaintiff says, "How am I going to -- the
  8    lawyer's telling me there aren't any documents. So, what do
  9    you do in this situation?" The play you run is you depose a
 10    custodian, somebody who has knowledge, could be a 30(b)(6).
 11    Somebody who has knowledge of what searches were done and what
 12    documents existed at the time and the like. And again, if
 13    it's not one person, there's a rule for that. It's 30(b)(6).
 14               MR. RAWLIN: Okay.
 15               THE COURT: And that's what you do.
 16               MR. RAWLIN: I understand, your Honor. I know where
 17    this case is going. This case is going to, "We don't have a
 18    case. We're going to harass you with discovery disputes."
 19    That's where this case is going. And that's unfortunate.
 20               The 30,000 pages of information that we produced on
 21    the claim that the Court found not preempted, which was:
 22    Did Mentor intentionally conceal the true rupture rates of its
 23    implants? We produced a whole bunch of data on exactly what
 24    Mentor knew about rupture rates and what it told everyone,
 25    including the FDA; and they don't like it because it shows we
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  1    told them the true rupture rates. There are rupture rates.
  2               And now we're getting -- this is going to turn into
  3    discovery motions, repeated serial discovery motions. That's
  4    where this case is going, and I don't think that's what this
  5    case should be about. This case should be about: Did Mentor
  6    conceal rupture rates? It didn't. And causation. Is there
  7    any evidence that breast implants caused disease in this
  8    plaintiff? No. We just deposed the implanter -- the
  9    explanter yesterday. She doesn't believe in this.
 10               So, we're going to incur a lot of costs. I mean, we
 11    spent tens of thousands of dollars looking for these documents
 12    that don't exist, and now I'm very fearful we're going to
 13    spend a whole lot more looking into things that aren't
 14    relevant to the case, don't really matter, to get to an
 15    inevitable conclusion.
 16               THE COURT: So, let me tell you what's going to
 17    happen. If I agree with you and I say, "Fine. The plaintiff
 18    doesn't have anything. No more discovery," you move for
 19    summary judgment, and I grant it, they're going to appeal.
 20    They're going to go upstairs, and three Seventh Circuit judges
 21    are going to laugh at me and at you; and it's going to make a
 22    very easy day's work for them because it's going to be a very,
 23    very easy reversal. And we're going to be back down here in a
 24    year, and I will have wasted your time and your time; and
 25    you'd have to end up doing exactly a year from now what the
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  1    plaintiff is asking you to do right now.
  2               It just wouldn't be -- I just can't --
  3               MR. RAWLIN: I understand.
  4               THE COURT: In a situation like this, I just can't do
  5    what you want me to do, and not just because it would waste
  6    your time with a reversal upstairs, but it's just not the
  7    right thing to do.
  8               MR. RAWLIN: I understand, your Honor. We'll go
  9    through the process. It's just I can see where the case is
 10    going based on the facts and the evidence. Again, we produced
 11    the 30,000 pages of things related to what the Court said we
 12    needed to produce discovery on, which was: Did Mentor
 13    intentionally conceal the true rate of rupture of its implants
 14    from doctors and the FDA? So that's what the Court's order
 15    was, and we went and produced 30,000 pages of all of these
 16    reports and clinical studies --
 17               THE COURT: You keep saying 30,000. It doesn't
 18    matter because 30,010 could be the document that makes his
 19    case. So, the fact that you -- the 30,000 you produced
 20    exonerate you is great; but it doesn't -- it's not dispositive
 21    because what the plaintiff is saying -- the plaintiffs are
 22    saying is that there may be more, and they need to figure out
 23    and run the play that one does in this kind of situation to
 24    determine whether there are more documents. And I just don't
 25    see how under the rules I could say that they're not allowed
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  1    to do that.
  2               MR. RAWLIN: And that's fine, your Honor. We'll let
  3    that play out. I'm confident how it's going to play out.
  4    That's fine. We will meet and confer. Again, last night was
  5    the first time I heard that there was an issue with our
  6    document production. We will meet with Mr. Dogali and go from
  7    there.
  8               THE COURT: So, why don't we -- you know what you
  9    need to do.
 10               MR. DOGALI: I think this custodian has to encompass
 11    ESI as well, your Honor, so we'll do that.
 12               THE COURT: You guys can talk about that. If there's
 13    a problem, you can bring it to me. Otherwise, just go ahead
 14    with what you need to do.
 15               Why don't we come in for a status hearing, Jackie, in
 16    early October.
 17               THE CLERK: How about October 3rd, 9:00 a.m.
 18               THE COURT: Does that work for everybody? I can give
 19    you another date if you'd like.
 20               MR. DOGALI: Your Honor, yesterday defense counsel
 21    raised the idea of the current schedule being -- creating
 22    restraints. It set a discovery cutoff of Halloween.
 23               THE COURT: Right. Why don't we revisit that on the
 24    3rd, and I'll be very receptive to a request to adjust the
 25    schedule. I'd like for you -- I don't want to set a date
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  1    right now when things are up in the air with this custodian
  2    issue, so let's let the dust settle on that; and then we'll
  3    all -- you'll have a better sense and I'll have a better sense
  4    of how much additional time you actually need.
  5               MR. RAWLIN: I'm actually at a deposition in Florida
  6    that date, your Honor.
  7               THE CLERK: How about October 2nd?
  8               MR. RAWLIN: I could make that work in the morning.
  9               THE CLERK: October 2nd, 9:00 a.m.
 10               THE COURT: And if any out-of-town counsel would like
 11    to call in, you're more than welcome to do so. You just need
 12    to make advance arrangements with Jackie. All right?
 13               MR. DOGALI: October 2 works.
 14               THE COURT: Thanks a lot.
 15               MS. WEISS: Thank you, your Honor.
 16               MR. RAWLIN: Thank you.
 17
 18      (Which were all the proceedings heard.)
 19                                    CERTIFICATE
 20      I certify that the foregoing is a correct transcript from
 21    the record of proceedings in the above-entitled matter.
 22
 23    /s/Charles R. Zandi                      September 4, 2018
 24    Charles R. Zandi                         Date
       Official Court Reporter
 25
